

People ex rel. Bender v Brann (2018 NY Slip Op 04270)





People ex rel. Bender v Brann


2018 NY Slip Op 04270


Decided on June 8, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 8, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

REINALDO E. RIVERA, J.P.
COLLEEN D. DUFFY
FRANCESCA E. CONNOLLY
ANGELA G. IANNACCI, JJ.


2018-06366

[*1]The People of the State of New York, ex rel. Elizabeth Bender, on behalf of Harry Murphy, petitioner, 
vCynthia Brann, Commissioner, Department of Correction, respondent.


Seymour W. James, Jr., New York, NY (Joshua Norkin, Elizabeth Bender, pro se, and Davis Polk &amp; Wardwell LLP [Daniel F. Kolb, Shahira D. Ali, and Garrett Cardillo] of counsel; Pat Andriola, Serena Wu, Drew Dean, and Mengyi Xu on the petition), for petitioner.
Richard A. Brown, District Attorney, Kew Gardens, NY (Robert J. Masters, John M. Castellano, Johnnette Traill, Nancy Fitzpatrick Talcott, and Hannah X. Collins of counsel), for respondent.



DECISION &amp; JUDGMENT
Writ of habeas corpus, inter alia, in the nature of an application for bail reduction upon Queens County Docket No. CR-016412-18QN to release Harry Murphy on his own recognizance or to set reasonable bail.
ADJUDGED that the writ is dismissed, without costs or disbursements.
The determination of the Supreme Court, Queens County, did not violate "constitutional or statutory standards" (People ex rel. Klein v Kruger , 25 NY2d 497, 499; see People ex rel. Rosenthal v Wolfson , 48 NY2d 230).
RIVERA, J.P., DUFFY, CONNOLLY and IANNACCI, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








